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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

  JAZZ PHARMACEUTICALS, INC.,     )
                                  )
                 Plaintiff,       )
                                  )
         v.                       )       C.A. No. 21-691 (GBW)
                                  )
  AVADEL CNS PHARMACEUTICALS LLC, )
                                  )
                 Defendant.       )

  JAZZ PHARMACEUTICALS, INC. and  )
  JAZZ PHARMACEUTICALS IRELAND    )
  LIMITED,                        )
                                  )
                 Plaintiffs,      )
                                  )
         v.                       )       C.A. No. 21-1138 (GBW)
                                  )
  AVADEL CNS PHARMACEUTICALS LLC, )
                                  )
                 Defendant.       )

  JAZZ PHARMACEUTICALS, INC. and  )
  JAZZ PHARMACEUTICALS IRELAND    )
  LIMITED,                        )
                                  )
                 Plaintiffs,      )
                                  )
         v.                       )       C.A. No. 21-1594 (GBW)
                                  )
  AVADEL CNS PHARMACEUTICALS LLC, )
                                  )
                 Defendant.       )
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                             NOTICE OF CHANGE OF ADDRESS

         PLEASE TAKE NOTICE that, effective immediately, the mailing address for F. Dominic

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  Pharmaceuticals, Inc. and Jazz Pharmaceuticals Ireland Limited, has changed. All pleadings,

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   December 9, 2024




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on December 9, 2024, I caused the foregoing to be electronically filed

  with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

  registered participants.

         I further certify that I caused copies of the foregoing document to be served on

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